Case 2:03-cV-02147-.]DB-tmp Document 52 Filed 06/07/05 Page 1 of 4 Page|D 63

IN THE UNITED sTATEs DISTRICT coURT;m£n§M‘…fz;:Dn.
FOR THE wESTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 JUN -’I PH 3‘~ 26

 

BERTFK naTROLKJ
JANICE P. wILLIAMS-cooK, §§§Hék§§»§§§?g§
Individuaiiy, and " ' ’
ROBERT B. cooK, JR.,
Individually,

Plaintiffs,
vs.

NORTHWEST AIRLINES, INC., Docket No. 03-2147 MA BRE
d/b/a NORTHWEST AIRLINES.

MESABA HOLDING, INC.,

holding company of

MESABA AVIATION, INC.,

d/b/a MESABA AIRLINES, and

JEREMY AN'DERSON, Individually',

Defendants.

 

’?

'?ROPGSEB SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
on June 9, 2005. Present were Ben Clayton, counsel for plaintiffs,
and George S. Petkoff and Jonathan B. Hensley, counsel for
defendants. At the conference, the following dates were
established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(&)(1): already
filed by both parties.

JOINING PARTIES: November 18, 2005
\AMENDING PLEADINGS: NOVember lB, 2005

INITIAL MOTIONS TO DISMISS: NOVember 18, 2005

TPHS cccu;msm:e[ue.ei.dd;Hc qutmdls me

vmn Hule 58 and/or 79(3) FFICP on

   

Case 2:03-cV-02147-.]DB-tmp Document 52 Filed 06/07/05 Page 2 of 4 Page|D 64

COMPLETING ALL LAY WITNESS DISCOVERY: OCtOber 28, 2005
(a) DOCUMENT PRODUCTION: OCtOber 28, 2005

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR ADMISSIONS:
October 28, 2005

EXPERT WITNESS DISCLOSURES AND DEPOSITIONS (Rule 26):

(a) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: NOVember 18, 2005

(b) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: December 19, 2005

(C) DISCOVERY DEPOSITIONS OF PLAINTIFFS' EXPERT: January 30,
2006

(d) DISCOVERY DEPOSITIONS OF DEFENDANTS’ EXPERT: March 30,
2006.

EVIDENTIARY DEPOSITIONS OF WITNESSES NOT APPEARING IN PERSON AT
TRIAL: May l, 2006

FILING DISPOSITIVE MOTIONS: June 30, 2006

PRE-TRIAL CONFERENCE: To be set in the Court's discretion anytime
after August 15, 2006.

TRIAL: To be set in the Court’s discretion anytime after August 30,
2006.

OTHER RELEVANT MATTERS:

No lay discovery depositions may be scheduled to occur after
the discovery cutoff date. All motions, requests for admissions,
or other filings that require a response must be filed sufficiently
in advance of the discovery cutoff date to enable opposing counsel
to respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good. cause shown, or the objection. to the default, response,
answer, or objection shall be waived.

Case 2:03-cV-02147-.]DB-tmp Document 52 Filed 06/07/05 Page 3 of 4 Page|D 65

This case is set for jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated that the trial will last

approximately 4 days.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed attorney mediation or private mediation
before close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessaryy it shall file a motion. for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the Magistrate
Judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.
M

TU M. PHAM
United States Magistrate Judge

<\"\)\~L ')c, ?/OOF

IT IS SO ORDERED.

 

 

Date

F:\APFS\WPDATA\FILES\GSP\PETKOFF\l05-3034\P1.EADI`NG\ORDERS\SCHEDUL,E,ORD

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:03-CV-02147 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

George S. Petkoff
PETKOFF & LANCASTER
305 Washington Avenue
Ste. 201

i\/lemphis7 TN 38103--210

Ben E. Clayton
LAW OFFICE OF BEN E. CLAYTON

200 Commercial Square Rd.
Slidell7 LA 70461

Honorable J. Breen
US DISTRICT COURT

